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                             UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  In re:                                             *     Chapter 11

  MIDNIGHT MADNESS                                   *     Case No. 21-11750-MDC
   DISTILLING LLC,
                                                     *
                                        Debtor.
                                                     *
  *         *        *         *        *       *     *     *       *       *       *         *     *

           MOTION FOR ADMISSION PRO HAC VICE OF PATRICIA B. JEFFERSON

           Joel L. Perrell, Jr., Esquire (“Movant”) hereby moves this court to enter an Order permitting

 Patricia B. Jefferson, Esquire to practice pro hac vice before the Court in the above-captioned case

 and to represent Millstone Spirits Group LLC and/or its affiliates. In support of this Motion, Movant

 respectfully represents as follows:

           1.       Ms. Jefferson is a principal with Miles & Stockbridge, P.C. and maintains her office

 at 100 Light Street, Baltimore, MD 21202.

           2.       Ms. Jefferson is a member in good standing of the bars of the State of Maryland and

 the District of Columbia. She is admitted to practice, and in good standing, in the Supreme Court of

 the United States, the United States Court of Appeals for the Fourth Circuit, the United States Court

 of Appeals for the Eighth Circuit, the United States District Court for the District of Columbia and

 the United States District Court for the District of Maryland.

           3.       Ms. Jefferson has never been disbarred or suspended from the bar of any court or

 otherwise subjected to professional discipline.

           4.       Ms. Jefferson is not currently subject to any disciplinary proceedings.




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          WHEREFORE, Movant respectfully requests that the Court enter the attached order

 permitting Patricia B. Jefferson, Esquire to appear pro hac vice in the above-captioned case.



 DATE: August 19, 2021                                      Respectfully submitted:


                                                            w/s/ Joel L. Perrell Jr.
                                                            Joel L. Perrell Jr
                                                             PA Bar No. 204803
                                                            Miles & Stockbridge P.C.
                                                            100 Light Street, 10th Floor
                                                            Baltimore, Maryland 21202
                                                            Tel: (410) 385-3762
                                                            Fax: (410) 698-1354
                                                            Email: jperrell@milesstockbridge.com




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                                                 VERIFICATION

         I, the undersigned, do hereby verify under penalty of perjury that the statements of fact made
 in the foregoing Motion for Admission Pro Hac Vice of Patricia B. Jefferson are true and correct. I
 understand that the statements herein are made in accordance with Local Bankruptcy Rule 2090-1(c).


                                                                 __/s/ Patricia B. Jefferson_______
                                                                 Patricia B. Jefferson, Esquire




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                                        CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 19th day of August, 2021, a copy of the foregoing Motion
 for Admission Pro Hac Vice of Patricia B. Jefferson was served via this Court’s CM/ECF electronic
 noticing system upon the following parties:

         WILLIAM J. BURNETT william.burnett@flastergreenberg.com,
          william.burnett@ecf.inforuptcy.com; jennifer.vagnozzi@flastergreenberg.com;
          jeanne.valentino@flastergreenberg.com
         KEVIN P. CALLAHAN kevin.p.callahan@usdoj.gov
         JULIE A. CALLSEN julie.callsen@tuckerellis.com,
          brittany.falkner@tuckerellis.com;thomas.fawkes@tuckerellis.com
         HOWARD GERSHMAN hg229ecf@gmail.com, 229ecf@glpoc.comcastbiz.net
         HARRY J. GIACOMETTI harry.giacometti@flastergreenberg.com,
          harry.giacometti@ecf.inforuptcy.com;jennifer.vagnozzi@flastergreenberg.com;giacomett
          i.flastergreenberg@gmail.com;jeanne.valentino@flastergreenberg.com
         MATTHEW A. HAMERMESH mhamermesh@hangley.com,
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          chapman-tomlin@dilworthlaw.com
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          5537@ecf.pacerpro.com; jdistanislao@foxrothschild.com
         CAROL E. MOMJIAN cmomjian@attorneygeneral.gov
         United States Trustee USTPRegion03.PH.ECF@usdoj.gov


                                                                 /s/ Joel L. Perrell Jr.
                                                                 Joel L. Perrell Jr.




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